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UNITED STATES DISTRICT COURT —|NBPANNEGLIS soe
SOUTHERN DISTRICT OF INDIANA

INDIANAPOLIS DIVISION 10. JUN 16 PM #28
2 SOUTHERN GistaicT
UNITED STATES OF AMERICA, ) LAUR A AB BRIOGS™ * ;
r
Plaintiff 8.8.10-er- 102 WIL-KPF
+
v. ) Cause No. 1:10 -CR-
)
KEXUE HUANG, )
a/k/a “John” )
Defendant. )
INDICTMENT
The Grand Jury charges that:
BACKGROUND

At all times relevant to this Indictment:
Dow AgroSciences
1. Dow AgroSciences LLC (Dow AgroSciences) was a leading agricultural company
providing agrochemical and biotechnology products, including agricultural crop protection
chemicals such as insecticides. Dow AgroSciences was a wholly owned subsidiary of The Dow
Chemical Company. The Dow AgroSciences corporate headquarters was based in Indianapolis,
located in the Southern District of Indiana.
Organic Insecticide Products
2. Since approximately 1989, Dow AgroSciences has made substantial investments
in research and development to produce a class of organic insect control and management
products. For example, spinosyns were a family of organic insecticides based upon the soil

bacteria Saccharopolyspora spinosa (S. spinosa) and Saccharopolyspora pagona (S. pagona).

 
 

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Dow AgroSciences applied a proprietary fermentation process to the spinosyns to produce
unique, commercially viable yields.

3. Through years of research and development, Dow AgroSciences enhanced the
effectiveness and yield of their proprietary organic insect control and management products.
Illustratively, the development of one particular strain typically spanned several generations in
order to perfect and enhance its effectiveness. The class of organic insecticide products of Dow _
AgroSciences was produced and marketed throughout the United States and around the world.

Spinosyn Products

4, The Dow AgroSciences spinosyn products worked by attacking the insects’
central nervous systems resulting in effective insect control and management. There were three
primary Dow AgroSciences spinosyn products:

A. Spinosad was an organic insecticide generated from S. spinosa. Spinosad
was used around the world on vegetables, tree fruit and nuts, cotton, soybeans, corn, cabbage,
potatoes, tomatoes, and broccoli, among others. In 1999, Dow AgroSciences was the recipient of
a Presidential Green Chemistry Challenge Award for its Spinosad insect control products
produced through fermentation.

B. Spinetoram, a second spinosyn product, was a new member of the
spinosyn class of insect management products developed by Dow AgroSciences. Spinetoram
was projected by Dow AgroSciences to have a wider application than Spinosad based on its
enhanced efficacy.

C. Butenyl-spinosyn, a third spinosyn product generated from S. pagona, was

a naturally occurring new member of the spinosyn family of insecticides developed by Dow

 
 

 

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AgroSciences. Butenyl-spinosyns was projected by Dow AgroSciences to have a wider
application than either Spinosad or Spinetoram based on its enhanced efficacy.
Reasonable Measures
5. Dow AgroSciences employed several layers of security to preserve and maintain
confidentiality and to prevent unauthorized use or disclosure of its trade secrets. These steps
were enforced to maintain Dow AgroSciences’ competitive advantage and to maintain the
" integrity of years of research and development with its organic insecticide products.
6. Some of the external physical security measures were:
A. Limiting physical access, including restricted access to the Dow
AgroSciences campus; manned, gated access to the campus; and
identification and access badges intended to limit access to restricted areas

on the campus; and

B. Mandating visitor sign-in sheets and escorts.
7. Some of the internal security measures were:
A. Requiring employee non-disclosure and other confidentiality agreements

that extended beyond the length of employment at Dow AgroSciences;

B. Recurrent training and instruction regarding the security and safeguarding
of restricted and confidential business information;

C. Publications and disclosures of restricted or confidential Dow
AgroSciences information were prohibited without express company

authorization.
 

 

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Data security policies;

Restricting use of all confidential information to use in the performance of
Dow AgroSciences company business;

Limiting access to Dow AgroSciences proprietary information to
employees or contractors with a need to know;

Using restrictive agreements prior to shipment of proprietary information
and material; and

Requiring approval to access Dow AgroSciences strains stored in locked

liquid cryo-storage tanks.

Dow AgroSciences Trade Secrets

8. Some of the Dow AgroSciences trade secrets (i) consisting of scientific

information, including plans, formulas, prototypes, methods, techniques, processes, procedures

and codes, tangible and intangible, stored, compiled and memorialized physically, electronically,

graphically, photographically and in writing, and (ii) related to and included in products which

were sold and distributed in interstate and foreign commerce, were the following:

 

Trade Secret One

General Description

 

S. spinosa strain used to produce Dow AgroSciences Spinosad products

 

Trade Secret Two

Model S. spinosa strain used for research and development

 

Trade Secret Three

Plasmid used to produce spinosyn genes

 

Trade Secret Four

First S. pagona strain for butenyl-spinosyns

 

Trade Secret Five

Second S. pagona strain for butenyl-spinosyns

 

Trade Secret Six

Pseudomonas fluorescens strain

 

Trade Secret Seven

Pseudomonas fluorescens plasmid

 

 

Trade Secret Eight

 

 

S. spinosa fermentation protocol

 

 
 

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Trade Secret Nine Plasmid used to increase butenyl-spinosyn yield

Trade Secret Ten Plasmid used to increase butenyl-spinosyn yield

Trade Secret Eleven Spinetoram mutation disclosed in published article, “Recent advances in the
biochemistry of spinosyns,” published through Hunan Normal University (“HNU”),
China

Trade Secret Twelve Optimizing media disclosed in published article, “Recent advances in the biochemistry
of spinosyns,” published through HNU, China

 

Defendant Huang’s Position, Assignment, and Obligations with Dow AgroSciences

9, Defendant KEXUE HUANG was a Chinese national and was granted legal
permanent resident status in the United States.

10. Beginning in or about January 2003 until on or about February 29, 2008,
defendant KEXUE HUANG, a/k/a “John” was employed at Dow AgroSciences as a research
scientist. In or around 2005, KEXUE HUANG, a/k/a “John” was assigned to research and
improve the family of spinosyns.

11, On or about January 27, 2003, defendant KEXUE HUANG, a/k/a “John” signed a
Dow AgroSciences Employee Agreement which outlined his obligations in handling confidential
information, including trade secrets. This agreement provided in pertinent part:

Confidential Information means trade secrets, know-how, and
other information not generally known, relating to Dow
AgroSciences' business which is disclosed to me or with which I
become familiar during my term of employment with Dow
AgroSciences. I shall not disclose to anyone or use, directly or
indirectly, either during or after my employment, any Confidential
Information of Dow AgroSciences, except with the written consent
of an officer of Dow AgroSciences or as required in my duties as
an employee of Dow AgroSciences. Upon termination of
employment, I shall surrender to Dow AgroSciences any and all
items in my possession or control that constitute Confidential
Information and all other property of Dow AgroSciences, such as
documents, equipment, samples, cultures, and models.

 
 

 

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12. The defendant KEXUE HUANG, a/k/a “John”, completed online training
concerning Dow AgroSciences policies and procedures for creating and handling proprietary
information. The online training included advisories regarding restricted and confidential
classification of documents.

13. In or around December 2008, defendant KEXUE HUANG, a/k/a “John” co-
authored an article entitled “Recent advances in the biochemistry of spinosyns.” The article was
published without Dow AgroSciences’ authorization through Hunan Normal University, People’s
Republic of China and contained Dow AgroSciences’ trade secrets. This article, published
through Hunan Normal University, was based on work supported by grants from the National
Natural Science Foundation of China.

Foreign Instrumentalities and Grant Applications

Hunan Normal University

14. Hunan Normal University (HNU), a foreign instrumentality of the People’s
Republic of China, was founded in 1938 and received priority in obtaining national funds.

15. Beginning at a time unknown, but not later than in or around 2007, defendant
KEXUE HUANG, a/k/a “John” directed individuals known to the Grand Jury and associated
_ with HNU to conduct research at HNU laboratories on Dow AgroSciences trade secrets.

National Natural Science Foundation of China

16. | The National Natural Science Foundation of China (NSFC), a foreign

instrumentality of the People’s Republic of China, was founded in February 1986 as part of the

National Natural Science Fund that promoted and financed scientific research.

 
 

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17. On or about March 18, 2008, defendant KEXUE HUANG, a/k/a “John,”
submitted a grant application, that was approved, entitled “Novel Bioinsecticide
Butenyl-Spinosyn Biosynthetic Gene Recombination and Modification,” to develop
butenyl-spinosyn high producing strains through the genetic engineering of Spinosad high
producing strains. In the application, dated less than three weeks after his termination from
employment at Dow AgroSciences, defendant KEXUE HUANG, a/k/a “John”, represented that
he had performed many tasks with respect to increasing the production level of spinosyns from
the perspective of genetic engineering.

18. Defendant KEXUE HUANG, a/k/a “John”, also applied for and received grants
from the NSFC to support the work on which he based the December 2008 article “Recent
advances in the biochemistry of spinosyns.”

19. Defendant KEXUE HUANG, a/k/a “John”, also submitted, participated in, and
drafted additional grant applications for NSFC funding referencing unauthorized disclosure and
use of Dow AgroSciences trade secret information involving or related to spinosyns production
and development. Specifically: (a) on or about March 18, 2008, KEXUE HUANG, a/k/a “John”,
drafted and submitted an application entitled, “Novel Bioinsecticide Butenyl-Spinosyn
Biosynthetic Gene Recombination and Modification”; (b) on or about March 18, 2008, Huang
was a project team member for a grant application entitled, “Modification of Spinosad Gene
Cluster and Isolation of Novel Insecticides”; and (c) on or about March 3, 2009, Huang drafted a

grant application entitled, “Second Generation Spinosad—Spinetoram Research.”

 
 

 

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863 Program

20. The 863 Program (also known as the 863 Project and 863 Plan) was a funding
plan created and operated by the government of the People’s Republic of China, and was known
as “the National High Technology Research and Development Program of China.” The program
was designed by leading PRC scientists to develop and encourage the creation of technology in
the People’s Republic of China.

21. In or around October 2008, defendant KEXUE HUANG, alk/a “J ohn”, assisted
with the drafting of an application for funding through the 863 Program to identify and make use
of polyketide and related properties. Spinosyns were a member of the family of polyketide
natural products.

Pseudomonas Flourescens

22. Pseudomenas Flourescens was a robust fermentation organism delivering high
cell densities and product yields developed by Dow AgroSciences.

23. On or about September 17, 2007, defendant KEXUE HUANG, a/k/a “John”, told
an individual known to the Grand Jury working in the laboratory at HNU that he wanted to focus
on three areas of research: (1) butenyl-spinosyns/spinosyns improvement, (2) pseudomonas
fluorescens, and (3) polyketides.

24. On or about September 19, 2007, after this individual indicated an interest in
working on pseudomenas fluorescens, KEXUE HUANG, a/k/a “John”, indicated that he would

soon be sending the individual a plasmid and strain and background information.
 

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25, On or about September 21, 2007, defendant KEXUE HUANG, a/k/a “John”,
directed the individual to focus on the expression and purification of therapeutic and industrial
enzymes in pseudomonas fluorescens.

26. On or about September 19, 2007, during the same period when he was
communicating with this individual, KEXUE HUANG, a/k/a “John,” accessed approximately 38
Dow AgroSciences confidential reports regarding pseudomonas flourescens, all materials beyond
his assigned areas of research at Dow AgroSciences.

Directing Research in the People’s Republic of China

27. Beginning at a time unknown to the Grand Jury and as early as September 2007,
defendant KEXUE HUANG, a/k/a “John”, directed research in the People’s Republic of China
on the same Dow AgroSciences confidential information, including trade secrets he was assigned
to research in the course of his Dow AgroSciences employment. For example, some of the
research and development activities directed by defendant KEXUE HUANG, a/k/a “John”,

occurred on or about the following dates:

 

      

| Activity Notes.

September 17,2007 | Huang mentioned that he wanted to focus on three areas of research: (1)
A buteny]-spinosyns/spinosyns improvement, (2) pseudomonas fluorescens, and (3)
polyketides (Trade Secrets One through Twelve)

 

B October 19, 2007 Huang reported that he would bring the strain and all necessary media to cultivate
Trade Secrets Six and Seven

 

Cc January 11, 2008 Huang provided shaker information “to establish the shake flask condition for S.
spinosa and [to] find the good media supply manufacture from China” involving
Trade Secret Two

 

D January 12, 2008 Huang provided the “plasmid maps” (Properties One, Two and Three)

 

January 13, 2008 Huang provided directions on project to transform S. spinosa (Trade Secrets Two
and Three and Properties One and Two)

 

 

 

 

 

 
 

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F April 2008

Huang advised that the strains he brought to Beijing were to be used to check
production (Trade Secrets Six and Seven)

 

G April 10, 2008

Huang received an Excel spreadsheet listing “plasmids you brought” (Trade
Secrets One, Three and Properties One, Two and Three)

 

H | July 8, 2008

When asked which S. spinosa strain to use in a particular project, Huang directed
another individual to use Trade Secret Two

 

I September 9, 2008

Huang sent abstract application in which generating intellectual property rights
was a stated research goal for butenyl-spinosyns (Trade Secrets Four and Five)

 

J Noveinber 13, 2008

Huang received updated Excel spreadsheet listing material Huang brought back
most recently (Trade Secrets One, Two, Four and Five and Properties One, Two
and Three)

 

K January 12, 2009

Huang requested comparison of two strains and provided protocol for S. pogona
and noted he had brought another one back (Trade Secret Five)

 

L June 8, 2009

Huang received report on fermentation and experimentation regarding Trade
Secret Four and Five

 

M February 26, 2010

Huang instructed another individual the project would focus on “buteny!-spinosyn
strain improvement and Pseudomonas project” (Trade Secrets Four through
Seven)

 

N_ | April 14, 2010

 

 

 

Huang provided instruction on a fermentation project, directing the use of Trade
Secret Two

 

 

Production Facilities

28. Defendant KEXUE HUANG, a/k/a “John”, sought information about

manufacturing facilities in the People’s Republic of China. Manufacturing facilities would allow

defendant KEXUE HUANG, a/k/a “John”, and others to compete in the same market as Dow

AgroSciences.

COUNTS 1 Through 12

(Theft, and Attempted Theft, of Trade Secrets to Benefit a Foreign Government and

Instrumentality)

18 U.S.C. §§ 1831(a)(1), 1831(a)(4), and 2

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29. The allegations set forth in Paragraphs One through 28 of this Indictment are

hereby realleged and incorporated by reference as if set forth in full herein.

30. Between on or about the dates set forth below, in the Southern District of Indiana,

and elsewhere, the defendant,

KEXUE HUANG,
a/k/a “John”,

intending and knowing that the offense would benefit a foreign government and foreign

instrumentalities, namely, the People’s Republic of China, Hunan Normal University, the

National Natural Science Foundation of China, and The 863 Program, did knowingly steal,
- appropriate, take, carry away, and conceal without authorization, and by fraud, artifice and

deception obtain trade secrets, and attempt to do so, specific Dow AgroSciences trade secrets as

 

 
       

 

 

 

 

 

 

 

set forth below:
| Dates eS Trade Secret

1 December 2007 through February 29, Trade Secret One
2008

2 December 2006 through February 29, Trade Secret Two
2008

3 January 2008 through February 29, 2008 | Trade Secret Three

4 September 2007 through February.29, Trade Secret Four
2008

5 September 2007 through February 29, Trade Secret Five
2008

6 January 2008 through February 29, 2008 | Trade Secret Six

 

 

 

 

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7 ‘| January 2008 through February 29, 2008 | Trade Secret Seven

8 February 29, 2008 Trade Secret Eight

9 January 2008 through February 29, 2008 | Trade Secret Nine

10 January 2008 through February 29, 2008 | Trade Secret Ten

11 January 2005 through December 10, Trade Secret Eleven
2008

12 January 2005 through December 10, Trade Secret Twelve
2008

 

 

All in violation of Title 18, United States Code, Sections 1831(a)(1), 1831(a)(4), and 2.

COUNTS 13 Through 17

(Interstate and Foreign Transportation of Stolen Property — 18 U.S.C. §§ 2314 and 2)

31. The allegations set forth in Paragraphs One through 28 of this Indictment are

hereby realleged and incorporated by reference as if set forth in full herein.

32. Between on or about the dates set forth below, in the Southern District of Indiana,

and elsewhere, the defendant,

KEXUE HUANG,
a/k/a “John”,

did unlawfully transport, transmit, and transfer in interstate and foreign commerce from

Indianapolis, Indiana to the People’s Republic of China, and to Germany, and elsewhere, stolen

goods, wares and merchandise, of the value of $5,000.00 or more, knowing the same to have

been stolen, converted, and taken by fraud, as set forth in the separate counts below:

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Dates

  

 

 

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: Stolen Property General Description
13 February 2008 through the Property One Plasmid used for gene expression in
present S. Spinosa
14 February 2008 through the Property Two Plasmid used for gene expression in
present S. Spinosa
15 February 2008 through the Property Three Plasmid used for gene expression in
present S. Spinosa
16 February 2008 through the Property Four E. coli strain used to increase
present butenyl-spinasyn yield
17 February 2008 through the Property Five E. coli strain used to increase
present butenyl-spinosyn yield
All in violation of Title 18, United States Code, Sections 2314 and 2.
TIMOTHY M. MORRISON
United States Attorney
by: Cc? OLY
CYN@HIA J. RIDGEWAY
Assistant United States Attorney
» MWKK DEE:
MARK L. KROTOSKI
Assistant United States Attorney
by: [ A \

 

 

EVAN-WILMAMS
Trial Attorney
United States Department of Justice

  

 

 
